Bank of America - 8465

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Deposit Source | Transactions Total Connection to Business
Counter Credit 42 $345,200.00
1 $71,000.00 Telegram
2 $10,300.00 Telegram
2 $19,400.00 Telegram
2 $450,000.00 Telegram; Testifying
Witness
1 $1,300.00 Telegram
] $2,400.00 Telegram
2 $160,000.00 Telegram
1 $82,345.65 Telegram; Letter from
Freeman to Bank
8 $129,400.00 Telegram
a al ] $9,930.00 LocalBitcoin; Freeman
Computer
| 1 $75,000.00 Telegram
iS. 3 $16,750.00 | Telegram; Trial Testimony
of Harold Jones
2 $8.800.00 Telegram
F 3 $184,000.00 LocalBitcoin
1 $28.000.00 Telegram
al lies 7 $69,850.00 Telegram; Testifying
| Witness
| Oi we 2 $18,000.00 Telegram
TOTAL $1,706,875.65
PAYEES
Pavee Count Total
Ian Freeman 4 -$134,100.00
Payward (Kraken) ll -$1,768,100.00

 

 

TOTAL

 

 

$1,902,200.00

 

 

 
Summary of Deposit Sources
Bank of America CHK 8465
Ian B. Freeman (closed)

Time Period: October 2019 - January 2020

Source
N i
M.
Counter Credit
H.
Revocable

D.
A.
F

Kalli Ent ises LLC

Mobile

Trust

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Transfer Account Missin
Transfer from C
A.

Trust

Grand Total

Summary of Payees
Bank of America CHK 8465

Ian B. Freeman (closed)

Count Total

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RV PA re Pope peo} ep ty

Time Period: October 2019 - January 2020

$71.000.
$10,300.00
$345,200.00
$19.400.00
$450,000.00
$214,119.05
$1,300.00
$2,400.00
$160,000.00
$4.000.
$82:345.65
$129,400.
$9,930.
$75,000.
$16,750.00
$2,200.00
$8,800.00
$10,000.00
$184,000.00
$28,000.00
$17,500.00
$250.
$69,850.
$18,000.

$1,929,744.70

Percen of Total
3.68%
0.53%
17.89%
1.01 %
23.32%
11.10%
0.07%
0.12%
8.29%
021%
4.27%
671%
051%
3.89%
0.87%
0.11%
0.46%
0.52%
9.53%
1.45%
0.91%
0.01%
3.62%
0.93%

1 kk

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Payee Count Total Paid Percentaee of Total
Account Closing Transaction 1 -$4,414.70 0.23%

Bank Fee 60 -$1.055.00 0.05%
Freeman, Jan 4 -$134,100.00 6.95%
Pavward Ventures Inc. ll -$1.768,100.00 91.62%

Route 101 Goods LLC 1 -$75.00 0.00%
Transfer Account Missing 4 -$20,000.00 1.04%
UPMA 1 -$2.000.00 0.10%
Grand Total &2 -$1,929,744.70 100.00%

 

as ofNovember 19, 2022

 
